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               Exhibit F
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                                                         EX-IO.I

  EX-10.12d806459dexl01.htmEX-10.1
                                                                                                                                     Exhibit10.1



  eb                                                                                                                         EXECUTION COPY

  September24,2019

  Devin Wenig

  VIA ELECTRONIC DELIVERY

  Dear Devin:
        This letter agreement confirms our agreement relating to your resignation from employment with eBay Inc. and its affiliates
                 "eBay"        "Company"), from                                                              "Board")
  (collectively,        or the                    your membership on the Board of Directors of eBay (the              and from any other officer
  positions you   hotd at the Company   or any of its affiliates and boards of directors on which you serve by reason of your position as
  President and Chief Executive Officer of eBay. By executing this letter agreement, you hereby confirm your resignation effective
  September 25, 2019 ("Separation Date"). This letter agreement ("Separation Agreement" or "Agreement") sets forth the severance
  benefits for which you are eligible if you sign this Separation Agreement, in full satisfaction of your entitlements under that certain letter
  agreement dated September 29, 2014 ("Letter Agreement"). Please note that as required under the Letter Agreement, this Separation
  Agreement contains a release ofdaims against eBay Inc., among others.
  1.       SEPARATION. On your Separation Date, the Company will pay you all accrued salary, subject to standard payroll deductions and
           withholdings, earned through the Separation Date. You will also be paid all accrued and unused vacation time eamed through the
           Separation Date, subject to standard payroll deductions and withholdings, and any ESPP contributions withheld thus far for the
           current purchase period (ifapplicable). You areentitled tothese payments regardless ofwhetheryou sign this Agreement.
  2.       PAYMENTS UNDER THE LETTER AGREEMENT. Your resignation from the Company shall be treated as a termination of your
           empioyment wlth the Company olher than for "Cause" under the Letter Agreement. Consequently, you are eligible to receive certain
           payments under the Letter Agreement if you sign and do not revoke this Agreement within the time periods specified in section 17 of
           this Agreement. A copy of the fully executed Letter Agreement is attached to this Agreement for your convenience. All payments and
           benefits provided under this Agreement or otherwise are subject to standard deductions and withholdings.
           A)    Non-Equity Related Payments. The Company will make the foltowing payments to you in accordance with the terms of the
                 Letter Agreement in the form of a lump sum payment within 30 days after the Effective Date (as such term is defined in
                 section 17 ofthis Agreement):
                  i)   Two times your Annual Base Salary (as such term is defined in the Letter Agreement), which equats $2,000,000; and




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                ii)    Two times your Bonus Amount (as such term is defined in the Letter Agreement), which equals 34,000,000.
                tn addition, you are eligible to receive a prorated portion of the bonus under the eBay Incentive Plan (as amended and
                restated May 1, 2015) ("elP"), ifany. thatyou otherwise would have earned and been paid (using your accrued eligibte
                compensation under the elP through the last day of employment) for the 2019 fiscal year under the elP. This elP payout is
                based on the actual performance of the Company for the full year (and will not take into account any individual performance
                factors), butprorated forthe time that you were employed during 2019 (i.e., January 1, 2019, to your Separation Date) and
                otherwise subject to all applicable terms of the elP. This amount will be paid, if at all, at the time when the Company pays
                bonuses under the elP to employees, but no later than March 15, 2020.
           B)   Equity-Related Payng^nl?. The Company will make the following cash payments to you with respect to your outstanding and
                unvested equity awards under the eBay Inc. 2008 Equity Incentive Award P!an, calculated using the Valuation Assumptions
                (as such term is defined in the Letter Agreement). The Company's Compensation Committee has approved the following cash
                payments in accordance with Rule 16b-3 under the Securities Exchange Act of1934,
                i)     Restricted Stock Unit ("RSU") Awards. The portions of your outstanding and unvested RSU Awards that would have
                       become vested within 12 months followlng the Separation Date had you remained employed will be payable in a cash
                       lump sum within 30 days after the Effective Date (see section 17 of this Agreement). Exhibit A includes the shares
                       associated with the RSU Awards for which you will be paid.
                ii)    2017-2018 Performance Based Restricted Stock Unit("PBRSU")Award. The portion ofyour2017-2018 PBRSU
                       Award that is unvested and scheduled to vest on March 15, 2020, will be payable in a lump sum within 30 days after the
                       Effective Date (see section 17 of this Agreement). Exhibit A includes the shares associated with the 2017-2018 PBRSU
                       Award for which you will be paid.
                iii)   2018-2019 Performance Based Restrlcted Stock Unit ("PBRSU") Award. In accordance with the terms of the Letter
                       Agreement, your 2018-2019 PBRSU Award shall be deemed earned prior to the Separation Date assuming
                       achievement oftarget performance during the 2018-2019 performance period, and as such Ihat award shall be payable
                       in a lump sum within 30days ofthe Effective Date (see section 17 ofthisAgreement). Exhlbjt A includes the shares
                       associated with the 2018-2019 PBRSU Award forwhich you will be paid.

                                                                                  2.




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                  iv)   2019-2020 Performance Based Restricted Stock Unlt ("PBRSU") Award. In accordance with the terms ofthe Letter
                        Agreement, your 2019-2020 PBRSU Award shall be deemed earned prior to the Separation Date assuming
                        achievement oftarget performance during the 2019-2020 performance period, and as such that award shall be payable
                        in a lump sum within 30 days of the Effective Date (see section 17 of this Agreement). Exhibit A jncludes the shares
                        associated the 2019-2020 PBRSU Award for which you will be paid.
                  v)    Dividend Equivalent Rights on RSU Awards and PBRSU Awards. In addition to the foregoing, you will also be
                        entitled to receive a payment in respect ofthe Dividend Equivalents (as such term Is defined in the Company's 2008
                        Equity Incentive Plan, as amended and restated) equal to the sum of any declared dividends accrued plus scheduied
                        dividends on the shares subject to the foregoing RSU Awards and PBRSU Awards for which the record date (or
                        scheduled record date) therefore occurred after the date of grant, through the date on which such RSU Awards and
                        PBRSU Awards would otherwise become vested consistent with the terms of the Letter Agreement. Exhibit A includes
                        the amount of such payment.
                  Pursuant to the terms of your equity grants. and except as provided above, all vesting of your RSU and PBRSU Awards will
                  cease on your Separation Date and your outstanding vested stock options will expire 90 days after the Separation Date. The
                                                                                                           "short-term
                  parties agree and acknowledge that the RSU Awards and PBRSU Awards constitute                        deferrals" within the meaning
                  of Section 409A of the Internal Revenue Code of 1 986, as amended, and therefore are not subject to any delay in payment
                  under such Section 409A. For the avoidance of doubt, any unvested RSU Awards and PBRSU Awards will be forfeited on the
                  Separation Date. Subjectto Rule 144ofthe U.S. Securities Act of 1933, all stockthat becomes vested asofthe Separalion
                  Date pursuant to this Agreement shall be freely saleable without restriction or limitation, induding without limitation, volume
                  restrictions, as of and after the Separation Date.
  3.       COBRA HEALTH COVERAGE. As provided by the federal COBRA law and by the Company's current group health plan, you will be
           etigible to continue your health coverage following the Separalion Date. You are entitled to COBRA coverage whether or not you sign
           this Separation Agreement, Your current health coverage is paid through midnight on the last day ofthe calendar month in which you
           terminate. You will be provided with a separate notice of your COBRA rights. Our COBRA administrator will mail a COBRA
           enrollment packet to your home within 30 days of your last day of employment. You will have 60 days from date of notification to eiect
           COBRA coverage. You must send in your enrollment forms to our COBRA administrator to actlvate coverage. Should you timely
           elect COBRA, the effective date of your continued coverage will be retroactlve to the date your current coverage otherwise would
           have ceased.
  4.       ADMINISTRATIVE SUPPORT. The Company will provide you with administrative support (as deemed reasonable by the Company)
           for up to six months from the Separation Date.

                                                                            3.




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  5.       AT-WILL EMPLOYMENT. As stated in the Letter Agreement, your emptoyment is at-will and nothing contained in this Separation
           Agreement is intended to create or imply any contrary policy.
  6.       OTHER COMPENSATION OR BENEFITS; N0 OBLIGATION TO RE-HIRE. You acknowledge that, except as expressly provided in
           this Agreement, you will not receive nor are you entitled to receive any other compensation or severance or benefits after the
           Separation Date, other than any vested benefits to which you may be entitled as of the Separation Date in accordance with the terms
           of applicable retirement benefit plans maintained by the Company. You recognize and agree that your employment relationship with
           the Company is permanently and irrevocably severed and the Company has no obligation, contractual or otherwise, to hire, re-hire or
           re-employ you in the future.
  7.       EXPENSE REIMBURSEMENTS. Within ten (10) days after the Separation Date, you will submit your final documented expense
           reimbursement statement reflecting any and all authorized business expenses you incurred through the Separation Date for which
           you seek reimbursement. The Company will reimburse you for such expenses pursuant to its regular business practice.
  8.       RETURN OF COMPANY PROPERTY. By the Separation Date, you will return to the Company all Company documents (and all
           copies thereof) and other Company property and materials in your possession, or your control, including, but not limited to, Company
           files, laptops, tablets and similar devices (including iPads), notes, memoranda, correspondence, lists, drawings, records, plans and
           forecasts, financial information, personnel information, customer and customer prospect information, sales and marketing
           information, product development and pricing information, specifications, computer-recorded information, tangible property, credit
           cards, entry cards, identification badges and keys; and any materiais of any kind which contain or embody any proprietary or
           confidential material ofthe Company (and all reproductions thereof).
  9.       INSIDER TRADING. As of your Separation Date, you will no longer be subject to blackout periods under the Company's tnsider
           Trading Policy. However, you wil) remain subject to US Securities laws, which, among other things, prohibit trading on the basis of
           material non-public information. More information regarding your obligations is outlined in Exhibit B.
  10.      PROPRIETARY INFORMATION OBLIGATIONS. You acknowledge your continuing obligations under your Employee Proprietary
           Information and tnventions Agreement which include but are not limited to the obligation to refrain from any unauthorized use or
           disclosure of any confidential or proprietary information of the Company as well as the obligation to not solicit (directly or indirectly)
           eBay Inc. employees for a periodofoneyear(12 months). Failure to comply with this provision shatl bea material breach ofthis
           Agreement. A copy ofyour Employee Proprietary Information and Inventions Agreement is available upon request.

                                                                               4.




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  11.      COOPERATION. You agree that upon the reasonable request of the Company or Its affiliates following the Separation Date, you
           shall use reasonable efforts to assist and cooperate with the Company or its affiliates in connection with the defense or prosecution
           of any claim that may be made against or by the Company or its affiliates, or in connection with any ongoing or future investigation or
           dispute or claim of any kind Involving the Company or its affiliates, induding any proceedings before any arbitral, administrative,
           regulatory, judicial, legislative or other body or agency. You will be entitled to reimbursement for any reasonable out-of-pocket
           expenses and attorneys' fees (including travel expenses and other customary disbursements and expenses) incurred in connection
           with providing such assistance.
  12.      NONDISPARAGEMENT. You agree not to disparage the Company, or the Company's officers, directors, employees, shareholders
           and agents, affiliates and subsidiaries in any manner IJkely to be harmful to them or their business, business reputation or personal
           reputation as it related to your knowledge about them in reiationship to eBay; provided that you will respond accurately and fully to
           any question, inquiry or request for information when required by legal process Failure by you to comply with this provision shall be a
           material breach ofthis Agreement.
           The Company also agrees that none of the individuals who constitute existing members of the Board or any of its existing "named
           executive officers" (as defined under ttem 402 of Regulation S-K), in their capadty as the same, shall pubtidy disparage you in any
           manner likely to be harmful to your personal or business reputation; provided that such individuals may respond accurately and fully
           to any question, Jnquiry or request for information when required by tegal process or otherwise make accurate statements in
           connection with any investigations or audits or in the good faith performance of such directors' duties or obligations to the Company.
  13.      RELEASE OF CLAIMS. In consideration for the payments and other promises and undertakings contained in fhis Agreement to
           which you woutd not otherwise be entitled, and except as otherwise set forth in this Agreement, you release, acquit and forever
           discharge the Company, its parents and subsidiaries, and its and their respective officers, directors, agents, servants, employees,
           attorneys, shareholders, successors, assigns and affiliates (collectively, the "Refeased Parties"), in their capacity as such, ofand
           from any and all claims, liabilities, demands, charges, causes ofaction, costs, expenses, attomeys' fees, damages, indemnities and
           obligations of every kind and nature, in law, equity, or otherwise, which you assert or could assert against the Company at common
           law or under any statute, rule, regulation, order or law, whether federal, state or local, on any ground whatsoever, known and
           unknown, suspected and unsuspected, disclosed and undisciosed, arising out of or in any way related to agreements, events, acts or
           conduct at any time prior to and including the date you sign this Agreement, including but not limited to: all such claims and demands
           directly or indirectly arising out of or in any way connected with your employment with the Company or the termination of that
           employment; claims or demands related to

                                                                           5.




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           severance pay; any and all causes of action, including but not iimited to actions for breach of contract, express or implied, breach of
           the covenant of good faith and fair dealing, express or implied, wrongful termination in violation of public policy, all other daims for
           wrongful termination and constructive discharge, and all other tort claims, including, but not limited to, intentional or negligent
           Jnfliction of emotional distress, invasion of privacy, negligence, negligent investigation, negligent hiring, supervision or retention,
           assault and battery, false imprisonment, defamation, intentional or negligent misrepresentation, fraud, and any and all claims arising
           under any federal, state or local law or statute, including, but not limited to, the California Fair Employment and Housing Act;
           Businessand Professions Code 17200; Title VII ofthe Civil RightsActof1964; the Civil RightsActof 1991; the Fair Labor Standards
           Act; the Employee Retirement and Income SecurityAct; the Americans with Disabilities Act, 42 U.S.C. §1981; theAge
           Discrimination in Employment Act of 1967, as amended ("ADEA"), the Family and Medical Leave Act; the California Family Rights
           Act; the Califomia Labor Code; the California Civil Code; the California Constitution; and any and all other laws and regulations
           relating to employment termination, employment discrimination, harassment or retaliation, any and all claims for attorneys' fees and
           costs, inasmuch as is permissible by taw and by the respective governmental enforcement agencies for the above-tisted laws.
           Subject to Ihe Company's payment of all amount owed under this Agreement, you further agree that you have been paid all
           undisputed wages due or earned, and as to any further alleged unpaid wages due, you agree that there is a bona fide and good-faith
           dispute as to whether such wages are due and based on this dispute and the consideration provided under the agreement, you
           release and waive any such claims.
           This Agreement does not waive rights or claims under federal or state law that you cannot, as a matter of law, waive by private
           agreement, such as a right of indemnification under Labor Code Section 2802. Nor does this Agreement waive any rights you have
           to indemnification and/or mandatory advancement of expenses by the Company or any subsidiary thereof under the Company's
           bylaws or the by-taws of any such subsidiary, or under statute or any insurance or other indemnification pollcies, including the
           Company's Directors and Officers Liability Insurance policy and the Company's Indemnity Agreement, or any agreement to which
                                           "Indemnification
           you are a party (together, the                   Agreements"), which rights are expressly preserved and remain in full force and effect.
           Additionally, nothing in this Agreement precludes you from enforcing any provisions hereof or filing a charge or complaint with or
           participating in any investigation or proceeding before the Equal Employment Opportunity Commission. However, while you may fite
           a charge and participate in any proceeding conducted by the Equal Opportunity Commission, by signing this Agreement, you waive
           your right to bring a lawsuit against the Company and waive your right to any individual monetary recovery in any action or lawsuit
           initiated by the Equal Employment Opportunity Commission.

                                                                                6.




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  14.      CLAWBACK POLICIES. You agree that this Agreement does not prohibit the Company from seeking recovery from you under the
           "clawback"
                        policies as provided for in your equity award agreements with the Company, any ofthe Company's bonus plans, and/or
           any of the Company's equity incentive plans. You further agree that, if, at any time following the Separation Date, the Board
           determines that an event has occurred that gives rise to the Company's right to seek recovery from you under Ihe Company's
           Clawback Policy as in effect on the Separation Date in respect of any incentive compensation as referenced therein, then such same
           right to recovery shall also apply to the payments set forth in section 2 of this Agreement (including without limitation those equity
           incentive compensation payments referenced in Section 2.B ofthis Agreement), notwithstanding anything to the contrary. Nothing in
           this Agreement shall be construed to restrict the Company's ability to seek enforcement of any of the foregoing clawback rights
           through lawsuits, arbitrations, or similar proceedings.
  15.      RELEASE OF UNKNOWN CLAIMS. You acknowledge that you have read and understand Section 1542 ofthe California Civil Code,
           which reads as follows: "A general release does not extend to claims that the creditor or releasing party does not know or
           suspect to exist in his or her favor at the time of executing the release and that, if known by him or her, would have
           materially affected his or her settlement with the debtor or released party." You hereby knowingly, intentionally, and
           expressly waive and relinquish all rights and benefits under that section and any law of any jurisdiction of similar effect
           with respect to the release of any unknown or unsuspected claims you may have against any of the Released Parties.
  16.      MISCELLANEOUS. This Agreement, including all exhibits hereto, the Indemnification Agreements, the elP and the equify award
           agreements and Company equity incentive plans pursuant to which such awards were granted, your Employee Proprietary
           Information and Inventions Agreement with the Company and Mutual Arbitration Agreement with the Company, collectively constitute
           the compiete, final and exclusive embodiment of the entire agreement between you and the Company with regard to the subject
           matter of this Agreement. It is entered into without reliance on any promise or representation, written or oral, other than those
           expressly contained herein, and it supersedes any other such promises, warranties or representations, prior agreements and
           communications, whether oral or written, as to the specific subjects of this letter by and between you and the Company. None of the
           payments set forth in section 2 ofthis Agreement shall be considered in determining your benefits under any plan, agreement, policy
           or arrangement of the Company and its affiliates, including but not limited to the Company's 401 (k) plan and other deferred
           compensation arrangements. The provisions of that section of the Letter Agreement entitled " Tax and Other Matters" is incorporated
           by reference herein and made a part hereof, including without limitation the provisions relating to arbitration, in accordance with the
           terms ofyour Mutual Arbitration Agreement. This Agreement may not be modified or amended except in writing signed by both you
           and a duly authorized officer of the Company. This Agreement will bind the heirs, personal representatives, successors

                                                                                 7.




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           and assigns of both you and the Company, and inure to the benefit of both you and the Company, their heirs, successors and
           assigns. If any provision of this Agreement is determined to be invalid or unenforceabie, in whole or in part, this determinatlon will not
           affect any other provision of this Agreement and the provision in question will be modified by the court so as to be rendered
           enforceable. No waiver by the Company of any right under this Agreement shatl be construed as a waiver of any other right, nor shall
           any waiver by the Company of any breach of this Agreement be a waiver of any preceding or succeeding breach. This Agreement
           will be deemed to have been entered into and will be construed and enforced in accordance with the laws of the State of Califomia
           as apptied to contracts made and to be performed entirely within Caiifornia.
  17.      I ACKNOWLEDGE THAT l HAVE BEEN ADVISED BY THIS WRITING, AS REQUIRED BY THE AGE DISCRIMINATION IN
           EMPLOYMENT ACT (ADEA) AND THE OLDER WORKERS' BENEFIT PROTECTION ACT (OWBPA), THAT: (a) MY WAIVER
           AND RELEASE DO NOT APPLY TO ANY RIGHTS OR CLAIMS THAT MAY ARISE AFTER THE EXECUTION DATE OF THIS
           AGREEMENT; (b) I HAVE BEEN ADVISED TO CONSULT WITH AN ATTORNEY PRIOR TO EXECUTING THIS AGREEMENT;
           (c) I HAVE FORTY-FIVE (45) DAYS TO CONSIDER THIS AGREEMENT (ALTHOUGH 1 MAY CHOOSE TO VOLUNTARILY
           EXECUTE THIS AGREEMENT EARLIER); (d) I HAVE SEVEN (7) DAYS FOLLOWING THE EXECUTION OF THIS AGREEMENT
           BY THE PARTIES TO REVOKE THE AGREEMENT; AND (e) THIS AGREEMENT WILL NOT BE EFFECTIVE UNTIL THE DATE
           UPON WHICH THE REVOCATION PERIOD HAS EXPIRED, WHICH WILL BE THE EIGHTH DAY AFTER THIS AGREEMENT IS
           EXECUTED BY ME, PROVIDED THAT THE COMPANY HAS ALSO EXECUTED THIS AGREEMENT BY THAT DATE
           ("EFFECTIVE DATE").

  Upon acceptance of this Agreement, please sign below and return the executed original to me. Upon your signature below, this will
  become our binding agreement with respect to your separation from the Company and its terms merging and superseding in their entirety
  all other or prior agreements and communications, whether written or oral, by you and the Company as to the specific subjects of this
  Agreement.

                                                                                                eBay Inc.

                                                                                           By: /s/ Paul Pressler
                                                                                               Paul Pressler
                                                                                               Director & Chair ofthe Compensation Committee

                                                                                8.




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  1 UNDERSTAND AND AGREE TO THE TERMS CONTAINED IN THIS AGREEMENT AND INTEND, BY MY SIGNATURE BELOW, TO
  BE LEGALLY BOUND BY THOSE TERMS. 1 AM SIGNING THIS RELEASE KNOWINGLY, WILLINGLY AND VOLUNTARILY IN
  EXCHANGE FOR THE SEVERANCE BENEFITS DESCRIBED ABOVE:

  /s/ Devin Wenig                                                                        Date: September24, 2019
  Devin Wenig

                                                                              9.




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                                                                                                         »of       Exercise/Strike
              Cpmpany Equity Awards                                                        Award Date   Shares         Price
              Time-Based RSU Awards                                                       01-APR-2016    26,173         NfA
                                                                                          01-APR-2017    41,704         NfA
                                                                                          01-APR-2018    38,519         N;A
                                                                                          01-APR-2019    38,750         NfA
              RSUs from 2017-2018 PBRSU Cycle                                                     NfA   215,193         NfA
              RSUs from 2018-2019 PBRSU Cycle                                                     N;A   231,114         NfA
              RSUs from 2019-2020 PBRSU Cycle                                                     N/A   232,500         NfA

                           Dividend Equivalentfor:                                                      Amount ($USD)
                           Time-Based RSU Awards                                                        $ 102,673.34
                           RSUs from 2017.2018 PBRSU Cycle                                              $ 150,635.10
                           RSUs from 2018.2019 PBRSU Cycle                                              $ 161,779.80
                           RSUs from 2019-2020 PBRSU Cycle                                              $ 130,200.00
                           TOTAL                                                                        $ 545,288.24
                                                                               10.




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                                                                             Exhibit B


                                                Post-Separation Obligations Under US Securities Laws

  Rule 10b-5 under the Securities Exchange Act of 1934 (the "Exchanae Act")
  Rule 10b-5 under the Exchange Act prohlbits, among other things, trading on the basis of material non-public information and disclosing
         "tipping")
  (i.e..            such information to third parties. Rule 10b-5 witl continue to apply to you after your Separation Date. You will, therefore,
  continue to be prohibited from:
               trading on the basis of material non-public Information regarding the Company or its securities and
               disclosing material non-public information regarding the Company or its securities to third parties so that they might trade in
               securities ofthe Company.

  Section 16 ofthe Securities Exchange Act
  As you know, Section 16 imposes reporting obligations and "short-swing trading" liabilities on executive officers of public companies.
  These obligations and liabilities can continue for up to six months following your Separation Date if you have non-exempt transactions
  during the six-month period prior to your Separation Date. Based on our review of the Company's records, It appears that all of your equity
  transactions during this period were exempt under the provisions under this ruie.

  Rule 144 of the Securities Act of 1933 (the "Securities Act")
  Based on your position with the Company prior to your Separation Date, you were an affiliate ofthe Company and any sales by you of
  Company securities had to be done in compliance with the requirements of Rule 144 ofthe Securities Act. You wlll need to continue to
  comply with Rule 144 for a period of 90 days following your Separation Date. To the extent you plan to sell any of your Company securitles
  during this time, you should work with your broker and/or financial advisor to ensure that you are complying with the provisions of Rute
  144.



  Note that the above is intended merely as a summary of certain provisions ofthe securities laws that may continue to apply to you after
  your Separation Date. It is not intended as legal advice. You should, of course, consult with your own legal advisors if you have any
  questions regarding the application ofthese or any other provisions ofthe securities laws.
                                                                                 11.




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